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                            IN THE UNITED STATES DISTICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

 CYNTHIA HOPKINS and GEOFFREY                         §
 HOPKINS, individually and on behalf of the           §
 ESTATE OF MARK HOPKINS, Deceased,                    §
 and ALYSSA MICHELLE WILSON;                          §
                                                      §
                                    Plaintiffs,       §
                                                      §
 v.                                                   §       CIVIL ACTION NO. 4:25-cv-00479
                                                      §
 CITY OF COLLEGE STATION, TEXAS;                      §
 CHIEF OF POLICE BILLY COUCH;                         §
 CHIEF OF POLICE BILLY COUCH;                         §
 OFFICER DAKOTA NORRIS;                               §
 OFFICER, INVESTIGATOR CHRISTIAN                      §
 TAYLOR LOVELACE, et al.                              §
                         Defendants.                  §


          PLAINTIFFS' AMENDED CERTIFICATE OF INTERESTED PERSONS



          Pursuant to Paragraph 3 of this Court’s February 24, 2025 Order for Conference and

 Disclosure of Interested Parties and Federal Rules of Procedure 7.1, Plaintiffs’ Cynthia

 Hopkins and Geoffrey Hopkins, individually and on behalf of the Estate of Mark Hopkins,

 Deceased, and Alyssa Michelle Wilson, provide the following amended list of all known

 attorneys for record and all persons or entities that are financially interested in this litigation,

 including parent, subsidiary, and affiliated corporations.

                 Parties                                      Attorneys of Record

  Plaintiffs:                                     Plaintiffs’ counsel:

       1. Cynthia Hopkins;                         Bradford J. Gilde
       2. Geoffrey Hopkins;                        Bradley G. Ertl
       3. Estate of Mark Hopkins,                  Chelsea N. Gillespie

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                    Parties                                          Attorneys of Record

         Deceased; and                                  GILDE LAW FIRM, PLLC
      4. Alyssa Michelle Wilson.
                                                        Thad D. Spalding
                                                        Shelby J. White
                                                        DURHAM, PITTARD & SPALDING, LLP

                                                        Aaron William Perry
                                                        AARON PERRY LAW FIRM


    Defendants: 1                                      Defendants’ counsel: 2

      1. City of College Station;                         Andrea Chan, achan@olsonllp.com
      2. Billy Couch;                                     OLSON & OLSON, LLP
      3. Dakota Norris;                                   2727 Allen Parkway, Suite 600
      4. Christian Taylor Lovelace;                       Houston, Texas 77019
      5. Jonathan D. Huth;
      6. Richard Benton Keough;
      7. Patrick S. McClung;
      8. Steve Brock;
      9. Long V. Le;
      10. Kelby Perez;
      11. Patrick J. McCarthy; and
      12. Michael H. Pavelka.




1
  All Defendants were served on February 7, 2025. (Doc. 7). Their responsive pleading deadline was therefore
February 28, 2025. Fed. R. Civ. P. 12(a)(1)(A). To date, however, none of the Defendants have filed responsive
pleadings or otherwise entered an appearance in this case.
2
 Plaintiffs’ counsel reached out to the City Attorney’s office on March 11, 2025 and learned that Ms. Chan, identified
above, and her firm, would be representing all Defendants in this matter.

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                                           Respectfully submitted:

                                           GILDE LAW FIRM, PLLC



                                           __________________________________________
                                           Bradford J. Gilde | TSB#: 24045941 | FID#. 4010300
                                           Bradley G. Ertl | TSB#: 24110896
                                           Chelsea N. Gillespie | TSB#24144221
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                                                         —AND—

                                           DURHAM, PITTARD & SPALDING, LLP

                                           /s/ Thad D. Spalding
                                           __________________________________________
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                                           Shelby J. White | State Bar No. 24084086
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                                                         —AND—

                                           AARON PERRY LAW FIRM

                                           /s/ Aaron William Perry
                                           __________________________________________
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                                                ATTORNEYS FOR PLAINTIFFS CYNTHIA
                                                HOPKINS       and   GEOFFREY        HOPKINS,
                                                individually and on behalf of the ESTATE OF
                                                MARK HOPKINS, Deceased; and ALYSSA
                                                MICHELLE WILSON

                                  CERTIFICATE OF SERVICE

         I hereby certify that on March 12, 2025, I electronically filed the foregoing document with
the Clerk of the Court for the U.S. District Court, Southern District of Texas, using the electronic case
filing (“ECF”) system of the Court. All counsel of record were served via electronic service through
the ECF system or via email.

        Andrea Chan, achan@olsonllp.com
        OLSON & OLSON, LLP
        2727 Allen Parkway, Suite 600
        Houston, Texas 77019
        Attorney for Defendants

                                                /s/ Thad D. Spalding
                                                Thad D. Spalding




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